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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                             Chief Judge Philip A. Brimmer

 Criminal Case No. 22-cr-00211-PAB-1


 UNITED STATES OF AMERICA,

         Plaintiff,

 v.

 1. RONALD PHILIP WALLACE,

      Defendant.
 ______________________________________________________________________

  PRELIMINARY ORDER OF FORFEITURE FOR A PERSONAL MONEY JUDGMENT
  ____________________________________________________________________

         This matter is before the Court on the United States’ Motion for Preliminary Order

 of Forfeiture for a Personal Money Judgment against Defendant Ronald Philip Wallace

 [Docket No. 117] pursuant to 18 U.S.C. §§ 981(a)(1)(C), 982(a)(2), 28 U.S.C. § 2461(c),

 and Fed. R. Crim. P. 32.2. The Court, having read said motion and being fully advised

 in the premises, finds:

      THAT, on January 8, 2024, an amended indictment was filed charging defendant

 Ronald Philip Wallace in Counts 1 through 9, with Wire Fraud and Aiding and Abetting,

 in violation of 18 U.S.C. §§ 1343 and 2; in Counts 10 through 40, with Money

 Laundering and Aiding and Abetting, in violation of 18 U.S.C. §§ 1956(a)(1)(B)(i) and 2;

 in Counts 41 through 43, with Bank Fraud and Aiding and Abetting, in violation of 18

 U.S.C. §§ 1344 and 2; and in Count 44, with Money Laundering and Aiding and

 Abetting, in violation of 18 U.S.C. §§ 1957 and 2;
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    THAT the amended indictment also sought forfeiture from defendant Ronald Philip

 Wallace pursuant to 18 U.S.C. §§ 981(a)(1)(C), 982(a)(1), 982(a)(2), and 28 U.S.C.

 § 2461(c);

    THAT, on November 7, 2024, the United States and defendant Ronald Philip

 Wallace entered into a plea agreement in which defendant plead guilty to Counts 9 and

 43, violations of 18 U.S.C. §§ 1343, 1344, and 2. It also contained a factual basis and

 cause to issue a personal money judgment under 18 U.S.C. §§ 981(a)(1)(C), 982(a)(2),

 28 U.S.C. § 2461(c), and Fed. R. Crim. P. 32.2(b).

    THEREFORE, IT IS ORDREED, DECREED, AND ADJUDGED:

    THAT a Preliminary Order of Forfeiture for a Personal Money Judgment against

 defendant Ronald Philip Wallace in the amount of $546,546.00 shall be entered in

 accordance with 18 U.S.C. §§ 981(a)(1)(C), 982(a)(2), and 28 U.S.C. § 2461(c);

    THAT pursuant to Fed. R. Crim. P. 32.2(b)(4), this Preliminary Order of Forfeiture for

 a Personal Money Judgment shall become final as to the defendant at the time of

 sentencing and shall be made part of the sentence and included in the judgment; and

    THAT this Preliminary Order of Forfeiture may be amended pursuant to Rule

 32.2(e)(1) of the Federal Rules of Criminal Procedure.

       DATED: April 14, 2025.

                                          BY THE COURT:


                                          ____
                                             _______ _______
                                                           _ __________  __
                                                                         __
                                          _________________________________
                                          PHILIP A. BRIMMER
                                          Chief United States District Judge



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